Case 18-22632     Doc 28    Filed 11/01/18 Entered 11/01/18 14:45:54       Desc Main
                              Document     Page 1 of 5




                  IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION
      IN THE MATTER OF                     IN PROCEEDINGS
                                           UNDER CHAPTER 13
      ROBERT TERRELL JOHNSON,
                                           CASE NO. 18-22632
                   DEBTOR                  JUDGE: Baer
                                NOTICE OF MOTION
Notified via Electronic Filing
U.S. Trustee, 219 S Dearborn St, Room 873, Chicago, IL 60604
Glenn B. Stearns, 801 Warrenville Road, Suite 650, Lisle, IL 60532
Adam Suchy, Geraci Law LLC, 55 E. Monroe, #3400, Chicago, IL 60603
Notified via US Postal Service
Robert Terrell Johnson, 8020 Woodglen Lane, Unit 110, Downers Grove, IL 60516

       Please take notice that on the 9th day of November, 2018, at the hour of 9:30
a.m. or as soon thereafter as I may be heard, I shall appear before the Honorable Judge
Janet S Baer, at the United States Bankruptcy Court, Kane County Courthouse, 100 S.
3rd Street, Geneva, IL 60134 or before any other Bankruptcy Judge who may be
presiding in his/her place and stead and shall then and there present the accompanying
motion. At that time and place you may attend if you so choose.
Case 18-22632      Doc 28    Filed 11/01/18 Entered 11/01/18 14:45:54         Desc Main
                               Document     Page 2 of 5




                               AFFIDAVIT OF SERVICE

       The undersigned hereby certifies that he/she caused a true and correct copy of
the above and foregoing document to be sent to the Debtor at the address listed below.
Said copy was placed in an envelope addressed as listed below and placed in the U.S.
Mail on November 1, 2018, with first class postage prepaid. All other parties entitled to
notice received such notice electronically, through the office of the Clerk of the Court.

                                  Respectfully Submitted,

                                  /s/ Michael N. Burke
                                  Michael N. Burke

Mike Kalkowski ARDC #6185654
Richard B. Aronow ARDC# 03123969
Michael N. Burke ARDC#6291435
Shapiro Kreisman & Associates, LLC
2121 Waukegan Road, Suite 301
Bannockburn, IL 60015
(847) 291-1717
Attorneys for Movant
16-080756

The firm of Shapiro Kreisman & Associates, LLC is a debt collector. This is an
attempt to collect a debt. Any information may be used for that purpose. If your
personal liability for this debt has been extinguished, discharged in bankruptcy
or if a court order prohibits collecting this debt from you personally, then this is
an attempt to enforce the Movant’s rights with respect to the property addressed
herein, and it is not an attempt to collect the debt from you personally.
Case 18-22632       Doc 28    Filed 11/01/18 Entered 11/01/18 14:45:54        Desc Main
                                Document     Page 3 of 5




                   IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

        IN THE MATTER OF                       IN PROCEEDINGS
                                               UNDER CHAPTER 13
        ROBERT TERRELL JOHNSON,
                                               NO. 18-22632
                    DEBTOR                     JUDGE: Baer

     MOTION FOR RELIEF FROM THE AUTOMATIC STAY OR IN THE ALTERNATIVE
                          DISMISSAL OF THE CASE

        NOW COMES the Movant, Nationstar Mortgage LLC d/b/a Mr. Cooper, by and

through its attorneys, Shapiro Kreisman & Associates, LLC, and states as follows:

1.      On August 10, 2018, the above-named Debtor filed a Petition pursuant to 11 USC

§ 1301, et. seq. and a Plan which has not been confirmed.

2.      A material term of said plan called for the Debtor to make post-petition monthly

mortgage payments directly to the Movant commencing with the installment that came

due on September 1, 2018.

3.      Notwithstanding said material term, said post-petition mortgage payments are in

default in the amount of $2,508.38 through October 31, 2018:

9/1/2018 - 10/1/2018 monthly payments = $                                  1,477.38
at $738.69 each
Bankruptcy MFR court cost             =$                                    181.00
Bankruptcy Attorneys' fees            =$                                    850.00

TOTAL                                     =$                              2,508.38


4.      By failing to make current mortgage payments, the Debtor has failed to provide

the Movant with adequate protection for its security, contrary to the requirements of the

Bankruptcy Code.
Case 18-22632       Doc 28     Filed 11/01/18 Entered 11/01/18 14:45:54           Desc Main
                                 Document     Page 4 of 5




5.     Attached are redacted copies of any documents that support the claim, such as

promissory notes, purchase order, invoices, itemized statements of running accounts,

contracts, judgments, mortgages, and security agreements in support of right to seek a

lift of the automatic stay and foreclose if necessary.

6.     That the Movant adopts the facts set forth in the Statement of Default as

additional allegations in support of this motion.

7.     Upon information and belief, an additional lien exists against the subject property

in the amount of $11,200.00.

8.     This failure constitutes a material default entitling Movant to relief pursuant to 11

U.S.C. §362(d).

9.     For the reasons set forth above, it would be inequitable to delay the enforcement

of any order modifying the automatic stay with respect to the Movant.

       WHEREFORE, Nationstar Mortgage LLC d/b/a Mr. Cooper, moves this Honorable

Court to modify the automatic stay to allow Nationstar Mortgage LLC d/b/a Mr. Cooper to

foreclose the mortgage or, in its sole discretion, to accept a short sale or deed in lieu of

foreclosure on the property located at: 8020 Woodglen Lane, Unit 110, Downers Grove,

IL 60516; that the unpaid portion of any proof of claim or stipulation calling for payment of

the debt secured by that mortgage be withdrawn for purposes of these proceedings only
Case 18-22632     Doc 28    Filed 11/01/18 Entered 11/01/18 14:45:54      Desc Main
                              Document     Page 5 of 5




and that Federal Bankruptcy Rule 4001(a)(3) be waived or dismiss the case.




                                Respectfully submitted,

                                _/s/ Michael N. Burke_____________________
                                Attorney for Nationstar Mortgage LLC d/b/a Mr.
                                Cooper


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